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UNITED STATES DlSTRlCT COURT F"_ED F_` ii
WESTERN DlSTRlCT OF TENNESSEE “ » 69 00
MEMPH|S DlV|S|ON iv}§f’ii?i"f 20 PM 3: 05

UN|TED STATES OF AMER|CA

 

-v- 2:03CR20383-01-Ml

DAMARC|US WlLL|ANlS
Howard Manis CJA
Defense Attorney
80 Monroe Avenue, Suite G1
Memphis, TN 38103

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 23, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section N§MQH€_"S§ Offel'\Se Number(sl
Concluded
18 U_S.C. § 922(g) Felon in Possession of a Firearm 05/11/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victirns Restitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence;
Defendant’s Date of Birth: 08/14/1976 May 19, 2005
Deft’s U_S. lVlarshal No.: 19559-076 , emcomp\\a§f-@

, _ d en we GQGK@W
Defendant’s Mal|ing Address: umw wieme‘€z\m$ggr? O“
85 AlVir`l rule doc 55 and|or 3

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Case No'. 2:03CR20383-01-i\/li Defendant Name: Damarcius W|LL|A|V|S Page 2 of 4
|MPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 37 Months (or 3 Years and 1 iVionth).

The defendant is remanded to the custody of the United States iv'iarshai.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES iVlARSHAL
By:

 

Deputy U.S. lViarsha|

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Case No: 2:030R20383-01-|\/il Defendant Name: Damarcius WlLl_lAiviS Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

VVhile on supervised releaser the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U_S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1. The defendant shall not leave thejudlcial districtwithout the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons',

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation oft"icer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No'. 2103CR20383-01-Nl| Defendant Name: Damarcius WiLLlAMS Page 4 of 4

law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Penaities sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall submitto drug and alcohol testing and treatment programs as directed
by the Probation Ofiice.

2. The defendant shall seek and maintain full-time employment

3. The defendant shall obtain his General Equivalency Dipiorna (G.E.D.).

4. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth clay after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U_S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Specia| Assessment shall be due immediately

F|NE
No fine imposed.

RESTlTUT|ON
No Restitution was ordered.

     

UNITED sETATSDlSTRICT COURT - WESERT DlSTRCIT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case 2:03-CR-203 83 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

HoWard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-i

Memphis7 TN 38103

Greg Gilluly

US ATTORNEY'S OFFICE
167 N. Main St.

Ste 800

Memphis7 TN 38103

Honorable J on McCalla
US DlSTRlCT COURT

